  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  1 of 1
                                                                       10of 10



 1
 2    1138 NORTH ALMA SCHOOL ROAD, SUITE 101
 3               MESA, ARIZONA 85201
      Telephone: 480.461.5300 | Fax: 480.833.9392
 4
   Bradley D. Gardner (SBN: 011211)
 5 bdg@udallshumway.com
 6 Attorney for Plaintiff
 7                          UNITED STATES DISTRICT COURT

 8                                  DISTRICT OF ARIZONA

 9 Kristha Lima,                                    Case No.:

10                          Plaintiff,
11                                                                 Complaint
     v.
12
   Capital    Consultants       Management
13 Corporation, a foreign corporation.
14
                          Defendant.
15
16          Plaintiff Kristha Lima (“Plaintiff”), by and through undersigned counsel, alleges

17 the following facts and claims against Defendant Capital Consultants Management
18
     Corporation (“Defendant” or “CCMC”) as follows:
19
                                         General Allegations
20
21          1.     Plaintiff is an individual residing in Maricopa County, Arizona.

22          2.     Defendant is a foreign for-profit corporation with operating subsidiaries
23
     located within this Judicial District, its principal office located in the State of Nevada,
24
     and its corporate office located in Scottsdale, Arizona,
25
26          3.     Plaintiff is an employee of Defendant within the meaning of 42 U.S.C. §

27 2000e(f) and 29 U.S.C. § 203(e)(1).
28
            4.     This Court has jurisdiction over this case under 28 U.S.C. §§1331.
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  2 of 2
                                                                       10of 10



 1         5.     Venue is proper in this District under 28 U.S.C. §1391 as most or all of
 2
     the acts alleged herein occurred within the geographic region covered by this District of
 3
     Arizona.
 4
 5         6.     Plaintiff alleges that Defendant is legally responsible for the acts and/or

 6 omissions giving rise to this cause of action and is legally and proximately responsible
 7
     for damages as alleged herein.
 8
                                         Nature of Case
 9
10         7.     Plaintiff began working for Defendant in April 2016 as a Lifestyle

11 Director.
12
           8.     Plaintiff received two write-ups in November 2019. These were the only
13
     write-ups Plaintiff received throughout her employment with Defendant.
14
15         9.     On November 21, 2020 after working a large corporate event, Plaintiff

16 went home and started feeling sick.
17
           10.    On November 24, 2020 Plaintiff obtained a Covid-19 test.
18
           11.    On November 27, 2020 Plaintiff’s results came back positive for Covid-
19
20 19.
21         12.    From November 30 to December 4, 2020 Plaintiff remained home under
22 quarantine per CDC recommended guidelines and with approval from Defendant.
23
         13.    On December 7, 2020 Plaintiff returned to work, although still presenting
24
25 with mild symptoms. Plaintiff’s Assistant Manager, Jennifer Campbell (“Ms.
26 Campbell”), advised Plaintiff return home for the reminder of the week.
27         14.    Plaintiff returned to work on December 14, 2020.
28

                                                 2
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  3 of 3
                                                                       10of 10



 1          15.    On December 16, 2020 Plaintiff was informed her mother, who resides in
 2
     California, had tested positive for Covid-19.
 3
            16.    Plaintiff immediately informed her Supervisor, Rebecca Hill (“Ms. Hill”)
 4
 5 that she would be using her previously approved vacation time to go to California and
 6 care for her mother.
 7
            17.    Plaintiff went on approved vacation from December 28, 2020 to January
 8
     1, 2021.
 9
10          18.    On December 28, 2020 Plaintiff’s mother was admitted to the ICU at a

11 hospital in California.
12
            19.    Plaintiff informed Ms. Hill her mother was admitted to the hospital.
13
            20.    On January 3, 2021 Plaintiff sent a text message to Ms. Hill to let her
14
15 know her mother was still in critical condition and requested to work from California
16 for the next week or in the alternative take additional vacation time.
17
            21.    Rebecca advised Plaintiff she needed to confirm with their Vice President
18
     and to take an additional vacation day until she received a response.
19
20          22.    By January 5, 2021 Plaintiff had still not received confirmation as to

21 whether she was allowed to work remotely or take additional vacation. Plaintiff sent
22 another text message to Ms. Hill and received a response to take vacation for the
23
   remainder of the week.
24
25       23.     While Plaintiff was driving back to Arizona on January 10, 2021, she

26 received a call from the hospital advising Plaintiff her mother’s condition was not
27 improving and she could pass away any day.
28

                                                     3
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  4 of 4
                                                                       10of 10



 1         24.    On January 11, 2021 Plaintiff returned to work and contacted Human
 2
     Resources to request FMLA information.
 3
           25.    Plaintiff explained her current situation and was told that her
 4
 5 circumstances did not qualify for FMLA because her mother was already in the hospital
 6 and Plaintiff was not the one caring for her.
 7
           26.    Plaintiff requested the FMLA paperwork be sent to her anyway which
 8
     Defendant subsequently provided.
 9
10         27.    Later that day, Plaintiff received another call from the hospital stating that

11 because her mother did not wish to be intubated and there was no longer anything the
12
     hospital could do. The hospital advised Plaintiff they would be disconnecting her
13
     mother from their machines and that she would pass within a day.
14
15         28.    Plaintiff notified her newly appointed Supervisor, Manager of Lifestyle

16 Services and advised that she needed to fly to California immediately to which the
17
     supervisor agreed.
18
           29.    Plaintiff arrived at the hospital that night and her mother passed away on
19
20 the morning of January 12, 2021.
21         30.    On January 13, 2021 this supervisor messaged Plaintiff sending her
22 condolences to which Plaintiff advised that she needed to take the remainder of the
23
   week off to take care of her mother’s arrangements. The Plaintiff also advised of the
24
25 possibility of having to return to California the following week for additional
26 arrangements.
27
28

                                                   4
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  5 of 5
                                                                       10of 10



 1         31.    At that time, Plaintiff still had ample vacation time to utilize, and the
 2
     supervisor approved Plaintiff’s request, as well as January 25 and 26, 2021 to attend her
 3
     mother’s funeral.
 4
 5         32.    On January 17, 2021 Plaintiff received a group text message from Ms.

 6 Hill stating that their team was to work from home as one of their co-workers had begun
 7
     exhibiting Covid-19 symptoms and was pending test results.
 8
           33.    On January 20, 2021 Plaintiff and her team returned to the office.
 9
10         34.    Later that day Plaintiff was asked to meet with Ms. Hill to review her

11 performance evaluation.
12
           35.    Unbeknownst to Plaintiff, Ms. Hill informed Plaintiff they needed to part
13
     ways due to her lack of commitment to the team, and that Plaintiff’s termination was
14
15 effective immediately.
16         36.    When Plaintiff inquired about the support behind Defendant’s decision,
17
     Ms. Hill could not provide Plaintiff any examples or proof as to her “lack of
18
     commitment to the team.”
19
20         37.    During this meeting Plaintiff was handed a Severance Agreement, which

21 she signed in front of Ms. Hill, and left the building.
22         38.    Plaintiff met with Sarah to gather her personal belongings. At that time
23
     Plaintiff also handed the Supervisor of Life Style Services her notice of revocation for
24
25 the Severance Agreement.
26         39.    On January 28, 2021 Head of Human Resources, Traci Hill (“Traci”),
27 contacted Plaintiff to discuss her termination.
28

                                                 5
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  6 of 6
                                                                       10of 10



 1         40.     Plaintiff’s advised Traci that she after having time to sleep on it she
 2
     changed her mind regarding the Severance Agreement and chose to revoke on her own.
 3
           41.     During this conversation Traci told Plaintiff that Ms. Hill had made it
 4
 5 appear to her that Plaintiff was aware of her lack of commitment, that conversations had
 6 been had between Plaintiff and Ms. Hill, and that Plaintiff was aware she might be
 7
     terminated.
 8
           42.     Plaintiff was shocked by these comments and advised Traci that she had
 9
10 never had any conversations or communications with Ms. Hill or any employee of
11 Defendant regarding her commitment to work. Plaintiff requested if there was evidence
12
     to the contrary she would like to review. To date, no documentation has been produced
13
     by the Defendant’s representatives.
14
15         43.     Plaintiff had no disciplinary action against her in the years leading up to

16 her needing to take time off to care for her mother.
17
           44.     Plaintiff had accrued vacation time sufficient enough to cover all the time
18
     off she took and received approval from Defendant for such time.
19
20         45.     The only week Plaintiff missed work was at Defendant’s direction when

21 Plaintiff attempted to return to the workplace following her bought with Covid-19 but
22 was told to return home as she was still experiencing symptoms.
23
          46.    Even though Plaintiff was going through such a horrible time personally,
24
25 she made sure she remained in constant contact with her supervisors and was careful to
26 get approval before taking any leave.
27
28

                                                 6
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  7 of 7
                                                                       10of 10



 1             47.   After her return to work and still dealing with the tragedy of losing her
 2
     mother, Plaintiff was terminated.
 3
               48.   At no point in time during the weeks of illness herself and her mother was
 4
 5 Plaintiff offered FMLA leave by Defendant.
 6             49.   Plaintiff has been damaged as a result of Defendant’s actions and is
 7
     entitled to just compensation for such damages.
 8
                                       First Cause of Action
 9                          Violation of the Family Medical Leave Act
10
               50.   Plaintiff realleges the aforementioned paragraphs as if fully set forth
11
     herein.
12
13             51.   Defendant employees more than fifty (50) employees and as such, are

14 covered employers under 29 U.S.C. §2611(4)(A)(i).
15
               52.   Plaintiff was an eligible employee covered by the Family Medical Leave
16
     Act (FMLA) pursuant to 29 U.S.C. §2611(2)(A)(i). As such, Plaintiff was entitled to
17
18 leave rights under the FMLA.
19             53.   Plaintiff’s mother was dealing with a “serious health condition” and had a
20
     qualifying reason for leave under the FMLA.
21
               54.   The FMLA makes it unlawful for an employer to deny leave to an eligible
22
23 employee or otherwise “interfere with, restrain, or deny the exercise of or the attempt to
24 exercise” FMLA rights. 29 U.S.C. §2615(a)(1); 29 C.F.R §825.220(a)(1).                 Any
25
     violation of the FMLA statutes or regulations constitutes interference with an
26
     employee’s rights under the FMLA. 29 C.F.R. §825.220(b).
27
28

                                                   7
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  8 of 8
                                                                       10of 10



 1           55.   Defendant violated FMLA by interfering with Plaintiff’s FMLA rights
 2
     and retaliating against Plaintiff for requesting FMLA leave and terminated her
 3
     employment after making such request.
 4
 5           56.   As provided under the FMLA, Plaintiff is entitled to collect liquidated

 6 damages equal to the sum of her lost compensation, wages, and benefits.
 7
             57.   As a result of Defendant’s violation of the FMLA, Plaintiff is entitled to
 8
     collect wages, employment, and pension benefits denied or lost, interest on this amount,
 9
10 liquidated damages equal to the lost compensation, wages, benefits, including her back-
11 pay damages, compensatory damages, and her reasonable attorneys’ fees and costs.
12
     Plaintiff is also entitled to reinstatement or in lieu thereof front pay and other
13
     appropriate equitable relief, as well as all other remedies available under 29 U.S.C. §
14
15 2601, et seq.
16                                  Second Cause of Action
                   Retaliation in Violation of the Family Medical Leave Act
17
18           58.   Plaintiff realleges the aforementioned paragraphs as if fully set forth

19 herein.
20
             59.   Under the FMLA’s anti-retaliation provision prohibits the employer from
21
     discriminating or retaliating against an employee or prospective employee for having
22
23 exercised or attempted to exercise FMLA rights. 29 C.F.R. § 825.220(c).
24           60.   It shall be unlawful for any employer to interfere with, restrain, or deny
25
     the exercise of or the attempt to exercise, any right of the FMLA. 29 U.S.C. § 2615(a).
26
27
28

                                                 8
  CaseCase
       2:21-at-99905
           2:21-cv-00867-MTL
                      DocumentDocument
                               65 (Court 1
                                         only)
                                            FiledFiled
                                                  05/17/21
                                                       05/17/21
                                                             PagePage
                                                                  9 of 9
                                                                       10of 10



 1         61.     Under the FMLA’s anti-retaliation provisions, employers are forbidden
 2
     from subjecting employees to an adverse employment action, such as reduction in pay,
 3
     demotion, or termination, for exercising any rights provided by the FMLA.
 4
 5         62.     Defendant terminated Plaintiff for exercising her rights under the FMLA.

 6         63.     As provided under the FMLA, Plaintiff is entitled to collect liquidated
 7
     damages equal to the sum of her lost compensation, wages, and benefits.
 8
           64.     As a result of Defendant’s violation of the FMLA, Plaintiff is entitled to
 9
10 collect wages, employment, and pension benefits denied or lost, interest on this amount,
11 liquidated damages equal to the lost compensation, wages, benefits, including her back-
12
     pay damages, compensatory damages, and her reasonable attorneys’ fees and costs.
13
     Plaintiff is also entitled to reinstatement or in lieu thereof front pay and other
14
15 appropriate equitable relief, as well as all other remedies available under 29 U.S.C. §
16 2601, et seq.
17
           WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
18
           A.      Award Plaintiff actual damages incurred herein including, but not limited
19
20 to, lost back pay, lost front pay, and benefits of employment;
21         B.      Award Plaintiff compensatory damages for the emotional distress caused
22 by Defendants actions;
23
         C.     Liquidated damages under the FMLA pursuant to 29 U.S.C. §
24
25 2617(a)(1)(A)(iii);
26         D.      Reasonable attorney’s fees and other expenses under the FMLA pursuant
27 to 29 U.S.C § 2617(3);
28

                                                 9
 CaseCase
      2:21-at-99905
          2:21-cv-00867-MTL
                     DocumentDocument
                              65 (Court 1
                                        only)
                                           FiledFiled
                                                 05/17/21
                                                      05/17/21
                                                            PagePage
                                                                 10 of10
                                                                       10of 10



 1         E.     For such other and further relief as the Court deems reasonable and just.
 2
                                    Demand for Jury Trial
 3
           Pursuant to the Federal Rules of Civil Procedure 38, Plaintiff demands a trial by
 4
 5 jury in this case.
 6         DATED: May 17, 2021.
 7
                                          UDALL SHUMWAY PLC
 8
                                          By: /s/ Bradley D. Gardner
 9                                           Bradley D. Gardner, Esq.
10                                           1138 North Alma School Road, Suite 101
                                             Mesa, Arizona 85201
11                                           Attorney for Plaintiff
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                10
